                  CASE 0:25-mj-00151-SGE            Doc. 1    Filed 03/24/25     Page 1 of 1

                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA

                            INITIAL APPEARANCE - REMOVAL
                                                    )        COURT MINUTES - CRIMINAL
United States of America,                           )          BEFORE: SHANNON G. ELKINS
                                                    )            U.S. MAGISTRATE JUDGE
                        Plaintiff,                  )
v.                                                  )   Case No:               25-mj-151 SGE
                                                    )   Date:                  March 24, 2025
Tyler Shawn Alwan,                                  )   Courthouse:            St. Paul
                                                    )   Courtroom:             Devitt Courtroom
                        Defendant.                  )   Time Commenced:        2:10 p.m.
                                                    )   Time Concluded:        2:13 p.m.
                                                    )   Time in Court:         3 minutes

APPEARANCES:

       Plaintiff: Robert Lewis, Assistant U.S. Attorney
       Defendant: Lisa Lopez, Assistant Federal Public Defender
                      X FPD          X To be appointed

       X Advised of Rights

on X Supervised Release
X Date charges or violation filed: March 19, 2025
X Current Offense: Submitted several positive urinalysis.
X Charges from other District: Southern District of Iowa
X Title and Code of underlying offense from other District: 21:841(a)(1), 841(b)(1)(B), 846; Conspiracy to
Distribute 500 Grams or More of a Mixture or Substance Containing Cocaine.
X Case no: 1:19-cr-26 SMR/HCA

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is Thursday, March 27, 2025 at 3:00 p.m. before U.S. Magistrate Judge Shannon G.
Elkins in Devitt Courtroom (STP) for:
X Detention hrg       X Removal hrg       X Preliminary Revocation


Additional Information:
X Oral Rule5(f) Brady notice read on the record.

                                                                                                  s/nah
                                                                          Signature of Courtroom Deputy
